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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY

                       D.N.J. LBR 9004-2(c), FEE APPLICATION COVER SHEET


 IN RE: Saint Michael’s Medical Center, Inc.          APPLICANT: CohnReznick LLP


 CASE NO: 15-24999 (VFP)                              CASE FILED: August 10, 2015

 CHAPTER 11                                           CLIENT: Committee of Unsecured Creditors


            COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION
              UNDER PENALTY OF PERJURY. PURSUANT TO 28 U.S.C, SECTION 1746

                                     RETENTION ORDER ATTACHED


                                    SECTION I
                                  FEE SUMMARY

 First Monthly Fee Statement Covering the Period August 19, 2015 through September 30, 2015

                                                     FEES                     EXPENSES
 TOTAL PREVIOUSLY REQUESTED                    $                      $
                                                      0.00                     0.00
 TOTAL ALLOWED TO DATE                         $                      $
                                                      0.00                     0.00
 TOTAL RETAINER (IF APPLICABLE)                $                      $
                                                      0.00                     0.00
 TOTAL HOLDBACK (IF APPLICABLE)                $                      $
                                                      0.00                     0.00
 TOTAL RECEIVED BY APPLICANT                   $      0.00            $        0.00
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                                                      Hours      Hourly
 Name of Professional      Level                      Billed      Rate         Total Fees
 Bernard Katz              Senior Partner                56.60      $750        $ 42,450.00

 Clifford Zucker           Partner                       54.80       710          38,908.00

 Joseph Baum               Director                      13.70       590           8,083.00

 Patricia Hennelly         Director                      52.40       590          30,916.00

 Rosellen Martoken         Staff                         10.80       295           3,186.00

 Simone Simpson            Staff                         30.60       295           9,027.00

 Maria Valle               Paraprofessional               2.70       195            526.50

 TOTAL:                                                 221.60                 $133,096.50

 Less Discount – 10%                                                            (13,309.65)

 Net Fees                                                                      $119,786.85

 Blended Hourly Rate:                                                              $540.55



 FEE TOTALS                                                                    $133,096.50

 LESS DISCOUNT – 10%                                                            (13,309.65)

 TOTAL FEES                                                                    $119,786.85

 LESS: HOLDBACK – 20%                                                           (23,957.37)

 FEES AFTER HOLDBACK                                                            $95,829.48

 DISBURSEMENT TOTALS                        (below)                                 $94.18

 TOTAL FEES AND EXPENSES DUE:                                                   $95,923.66




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                    Section II. Summary of Services by Category
a)   Assets and liabilities                                          23.30 $ 16,207.00

b)   Budget review                                                   11.00        4,983.50

c)   Case administration (retention matters)                         13.50        3,712.50

d)   Cash collateral issues                                          22.80    15,340.00

e)   Monitor cash                                                     3.80        2,810.00

f)   Historical financial information                                 1.50         885.00

g)   First day motions review                                         1.50        1,093.00

h)   Document request/response/review                                10.90        7,515.00

i)   Operating results                                               11.80        6,236.50

j)   Evaluate proposed asset sale                                    10.70        7,617.00

k)   Executory contracts                                             39.10    17,370.00

l)   Participate in committee meetings                                3.90        2,729.00

m)   Prepare flash reports/report to Committee                        6.30        3,717.00

n)   Review proposed transactions of Debtor                          34.70    24,833.00

o)   Projections                                                     14.90        9,235.00

p)   Services related to DIP facility                                10.60        7,850.00

q)   Litigation - general                                             1.30         963.00

      Services Total (before 10% discount)                          221.60 $ 133,096.50
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                                  SECTION III
                      SUMMARY OF DISBURSEMENTS


 Description                                                                            Amount
 Travel (mileage, tolls, parking)                                                        $76.00
 Photocopies – 86 pages at $.10 per page                                                   8.60
 Federal Express                                                                           9.58
 Total Disbursements:                                                                    $94.18


                                      SECTION IV
                                     CASE HISTORY

 (NOTE: Items 3 – 6 are not applicable to applications under 11 U.S.C. § 506)

 (1)     DATE CASE FILED:        August 10, 2015

 (2)     CHAPTER UNDER WHICH CASE WAS COMMENCED:                          Chapter 11

 (3)     DATE OF RETENTION: Order entered October 1, 2015, nunc pro tunc to August 19, 2015

 (4)    SUMMARIZE IN BRIEF THE BENEFITS TO THE ESTATE AND ATTACH
        SUPPLEMENTS AS NEEDED:

 (5)     ANTICIPATED DISTRIBUTION TO CREDITORS:

             a.   Administration Expenses:               unknown at this time
             b.   Secured Creditors:                     unknown at this time
             c.   Priority Creditors:                    unknown at this time
             d.   General Unsecured Creditors:           unknown at this time

 (6)     FINAL DISPOSITION OF CASE AND PERCENTAGE OF DIVIDEND PAID TO
         CREDITORS (IF APPLICABLE): Unknown at this time.


 I certify under penalty of perjury that the foregoing is true and correct.




                                                         ________________________________
                                                         Clifford A. Zucker, CPA
                                                         Partner, CohnReznick LLP
 Dated: October 21, 2015




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                                  EXHIBIT A
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     SILLS CUMMIS & GROSS P.C.
     Andrew H. Sherman                                                         Order Filed on September 30, 2015
     Boris I. Mankovetskiy                                                     by Clerk
     Lucas F. Hammonds                                                         U.S. Bankruptcy Court
                                                                               District of New Jersey
     One Riverfront Plaza
     Newark, New Jersey 07102
     Tel.: 973-643-7000
     Fax: 973-643-6500
     Proposed Attorneys for the Official Committee of
     Unsecured Creditors of St. Michael’s Medical Center,
     Inc., et al.
     In re:                                                           Hon. Vincent F. Papalia

     SAINT MICHAEL’S MEDICAL CENTER, INC. et                          Case No. 15-24999 (VFP)
     al.,1                                                            (Jointly Administered)

                            Debtors-in-Possession.                    Chapter 11


             ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF
           COHNREZNICK LLP AS FINANCIAL ADVISOR FOR THE OFFICIAL
           COMMITTEE OF UNSECURED CREDITORS OF SAINT MICHAEL’S
          MEDICAL CENTER, INC., ET AL. NUNC PRO TUNC TO AUGUST 19, 2015

          The relief set forth on the following pages, numbered two (2) through three (3), is hereby

 ORDERED.




 DATED: September 30, 2015




 1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal identification
 number are: Saint Michael’s Medical Center, Inc. (6046); Columbus Acquisition Corp. (6342); Saint James Care,
 Inc. (6230); and University Heights Property Company, Inc. (0162).


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                                                               3
 Debtor:                Saint Michael’s Medical Center, Inc., et al.
 Case No.:              15-24999 (VFP)
 Caption of Order:      Order Authorizing Retention and Employment of CohnReznick
                        LLP as Financial Advisor for the Official Committee of Unsecured
                        Creditors of Saint Michael’s Medical Center, Inc., et al. nunc pro
                        tunc to August 19, 2015

          Upon the application (the “Application”) of the Official Committee of Unsecured

 Creditors of Saint Michael’s Medical Center, Inc., et al. (the “Committee”) to retain and employ

 CohnReznick LLP (“CohnReznick”) as its financial advisor nunc pro tunc to August 19, 2015;

 and due and proper notice of the Application having been given; and no other or further notice

 being required; and the Court having jurisdiction to consider the Application in accordance with

 28 U.S.C. §§ 157 and 1334; and this being a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

 and this Court having considered the Application, its supporting materials, and all responses

 thereto, if any; and it appearing that (i) the proposed employment of CohnReznick as financial

 advisor for the Committee is in the best interest of the Committee and the bankruptcy estates, (ii)

 CohnReznick does not represent any entity having an adverse interest in connection with the

 case, as required by 11 U.S.C. § 1103(b), and its Members do not represent or hold any interest

 adverse to the Committee or the bankruptcy estates and are disinterested under 11 U.S.C. §

 101(14), and (iii) the Application and materials are in compliance with the applicable provisions

 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy

 Rules for the District of New Jersey; and after due deliberation thereon; and good and sufficient

 cause appearing therefor:

          It is hereby ORDERED that:

          1.     The Application is GRANTED.

          2.     The Committee is authorized to retain and employ CohnReznick as its financial

 advisor pursuant to 11 U.S.C. § 1103, Fed. R. Bankr. P. 2014, and D.N.J. LBR 2014-1 nunc pro




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                                                               3
 Debtor:                Saint Michael’s Medical Center, Inc., et al.
 Case No.:              15-24999 (VFP)
 Caption of Order:      Order Authorizing Retention and Employment of CohnReznick
                        LLP as Financial Advisor for the Official Committee of Unsecured
                        Creditors of Saint Michael’s Medical Center, Inc., et al. nunc pro
                        tunc to August 19, 2015

 tunc to August 19, 2015 on the terms set forth in the Application and Declaration of Bernard A.

 Katz in support.
               CohnReznick
          3.    Sills shall be compensated for its services and reimbursed for any related

 expenses in accordance 11 U.S.C. §§ 328, 330, and 331, the applicable provisions of the Federal

 Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the District of New Jersey, and

 any orders of this Court.

          4.    The terms and conditions of this order shall be effective and enforceable

 immediately upon its entry.

          5.    The Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation of this order.




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                                  EXHIBIT B
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                             Saint Michael's Medical Center, Inc., et al.
                                 Summary of Fees and Expenses
                              August 19 through September 30, 2015

Name of
Professional                      Level                       Hours             Rate        Fees
Bernard A. Katz                   Senior Partner               56.60        $     750   $ 42,450.00
Clifford A. Zucker                Partner                      54.80              710      38,908.00
Joseph Baum                       Director                     13.70              590       8,083.00
Patricia Hennelly                 Director                     52.40              590      30,916.00
Rosellen Martoken                 Staff                        10.80              295       3,186.00
Simone Simpson                    Staff                        30.60              295       9,027.00
Maria Valle                       Paraprofessional              2.70              195         526.50
                                                              221.60                    $ 133,096.50
Discount - 10%                                                                            (13,309.65)
                                                                                        $ 119,786.85
Blended hourly rate               $              540.55

Expenses:
Federal Express                                                                         $       9.58
Mileage, tolls, parking                                                                        76.00
Photocopies                   86 pages at $.10 per page                                         8.60
                                                                                        $      94.18

  Total fees and expenses:                                                              $ 119,881.03
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CohnReznick LLP Fee Statement                                                                                                   Page 2
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                                             August 19, 2015 through September 30, 2015
Date     Name              Activity        Narrative                                                       Hours    Rate   Amount
08/19/15 Bernard Katz      Br DIP facility Review DIP budget.                                                1.20    750      900.00
08/19/15 Bernard Katz      Br review trans Review APA and bidding procedures.                                3.10    750    2,325.00

08/19/15 Bernard Katz      Br DIP facility   Telephone conference with Debtors, FA re: DIP budget.           1.30   750      975.00
08/19/15 Bernard Katz      Br First Day      Review 1st day affidavit.                                       0.70   750      525.00
                           Motions
08/19/15 Bernard Katz      Br DIP facility Review DIP, motion and loan documents.                            2.30   750     1,725.00
08/19/15 Bernard Katz      Br review trans Telephone conferences with C. Zucker on workplan, case            0.40   750       300.00
                                           issues.
08/19/15 Bernard Katz      Br review trans Telephone conference with Committee Counsel re: CR scope.         0.70   750      525.00

08/20/15 Bernard Katz      Br review trans Telephone conferences with Committee Counsel re: APA,             1.50   750     1,125.00
                                           Bidding procedures, Trinity, etc.
08/20/15 Bernard Katz      Br Asset/Liab Telephone conferences with Debtor's Counsel and FA re:              1.30   750      975.00
                                           working Capital and Assumed Liabilities.
08/20/15 Bernard Katz      Br Asset/Liab Telephone conference with J. Baum and counsel re: liabilities       0.20   750      150.00
                                           to be assumed and rejected.
08/20/15 Bernard Katz      Br Asset/Liab Telephone conference with J. Baum re: assumed and                   0.30   750      225.00
                                           excluded assets and liabilities.
08/20/15 Bernard Katz      Br review trans Telephone conference with J. Baum, counsel to the                 0.20   750      150.00
                                           Committee and Debtor to discuss APA.
08/21/15 Bernard Katz      Br Comm. Mtg. Committee call.                                                     0.40   750      300.00

08/21/15 Bernard Katz      Br review trans Review changes to APA suggested by Committee Counsel.             1.40   750     1,050.00

08/21/15 Bernard Katz      Br review trans Review Committee objection to bid procedures.                     0.20   750      150.00

08/21/15 Bernard Katz      Br review trans Review St. Barnabas objection to bid procedures.                  0.50   750      375.00

08/21/15 Bernard Katz      Br Asset/Liab   Telephone conferences with Debtor's, FA re: liability             0.50   750      375.00
                                           categories.
08/23/15 Bernard Katz      Br review trans Review working capital definitions and support to benchmark       2.50   750     1,875.00
                                           calculations and discuss with Debtor's FA(1.7). Telephone
                                           conference with J. Baum re: W/C calculations.(.3). Telephone
                                           conference with Counsel re: same(.5)

08/24/15 Bernard Katz      Br Doc request Telephone conference with Counsel re: Trinity document             0.50   750      375.00
                                           request.
08/24/15 Bernard Katz      Br review trans Meeting with Counsel re: APA and Bidding procedures.              1.50   750     1,125.00

08/25/15 Bernard Katz      Br Asset/Liab Telephone conference with C. Zucker on shared services.             0.30   750      225.00
08/25/15 Bernard Katz      Br Doc request Telephone conference with Counsel and P. Hennelly re:              0.50   750      375.00
                                          Trinity document request.
08/26/15 Bernard Katz      Br Budget Rev Review budget to actual for w/e 8/23 and discuss with Debtors       2.20   750     1,650.00
                                          FA(1.6). Telephone conference with Counsel re: same(.6)

08/26/15 Bernard Katz      Br DIP facility Telephone conference with Debtor's FA re: revision to DIP         0.30   750      225.00
                                           budget.
08/26/15 Bernard Katz      Br DIP facility Telephone conference with Counsel re: Trinity DIP information     0.30   750      225.00
                                           and DIP hearing.
08/26/15 Bernard Katz      Br review trans Review Katz affidavit.                                            0.40   750      300.00

08/27/15 Bernard Katz      Br review trans Review Debtor's motion for an order approving amendment to        0.40   750      300.00
                                           CNN America contract and discuss with Counsel.
08/27/15 Bernard Katz      Br review trans Telephone conferences with C. Zucker re: case issues.             0.30   750      225.00

08/27/15 Bernard Katz      Br Eval sale      Telephone conference with CFO from St. Barnabas re:             0.60   750      450.00
                                             purchase price
08/27/15 Bernard Katz      Br Asset/Liab     Telephone conference with Debtor's Counsel re: W/C claim        0.30   750      225.00
                                             payments.
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Date     Name              Activity        Narrative                                                         Hours    Rate   Amount
08/28/15 Bernard Katz      Br review trans Telephone conference with SMMC Counsel re: purchase price           1.10    750     825.00
                                           and assumption of debt.
08/28/15 Bernard Katz      Br Eval sale    Telephone conference with Debtor's counsel re: purchase             0.60   750      450.00
                                           price consideration.
08/28/15 Bernard Katz      Br Eval sale    Telephone conferences with Committee Counsel re: purchase           0.60   750      450.00
                                           price consideration.
08/31/15 Bernard Katz      Br review trans Review Counsel's comments to CR retention application and           0.50   750      375.00
                                           update retention papers.
08/31/15 Bernard Katz      Br Eval sale    Meet with C. Zucker re: St. Barnabas discussion.                    0.20   750      150.00
08/31/15 Bernard Katz      Br Doc request Telephone conference with Counsel re: Trinity documents.             0.50   750      375.00

09/02/15 Bernard Katz      Br DIP facilityMeeting with Counsel re: NDA, Trinity and DIP (.5); phone call       0.70   750      525.00
                                          with C. Zucker re: same (.2).
09/03/15 Bernard Katz      Br Doc request Phone call with Counsel re: Trinity documents.                       0.50   750      375.00

09/08/15 Bernard Katz      Br DIP facility Meet with C. Zucker on DIP issue.                                   0.20   750      150.00
09/08/15 Bernard Katz      Br Comm. Mtg. Committee call.                                                       1.00   750      750.00

09/08/15 Bernard Katz      Br review trans Review/analysis of budget v. actual and dataroom information        0.50   750      375.00

09/09/15 Bernard Katz      Br Monitor        Phone calls with Counsel re: Trinity cash disbursements (.8);     2.00   750     1,500.00
                           cash              phone call with P. Hennelly re: global contracts (.7); phone
                                             call with Debtor's financial advisor re: cash management and
                                             Trinity (.5)
09/10/15 Bernard Katz      Br review trans Telephone call with counsel re: CR retention - follow-up on         0.50   750      375.00
                                           UST comments.
09/10/15 Bernard Katz      Br Monitor      Telephone call with counsel re: cash management.                    0.50   750      375.00
                           cash
09/10/15 Bernard Katz      Br review trans Review Buck email re: shared services.                              1.20   750      900.00

09/11/15 Bernard Katz      Br review trans Telephone conference with Debtor's FA re: shared services           0.40   750      300.00
                                           memo.
09/11/15 Bernard Katz      Br review trans Phone conference with Debtor's FA, P. Hennelly and J. Baum          0.60   750      450.00
                                           re: shared services memo.
09/11/15 Bernard Katz      Br review trans Phone conference with Counsel re: shared services memo              0.80   750      600.00
                                           and Trinity admin claim.
09/15/15 Bernard Katz      Br review trans Phone conference with Counsel re: Buchanan and Trinity.             0.50   750      375.00

09/16/15 Bernard Katz      Br Cash col       Review detail of DIP/cash collateral budget.                      1.30   750      975.00
                           bud
09/16/15 Bernard Katz      Br Monitor        Telephone conference with Trinity re: cash management.            0.70   750      525.00
                           cash
09/16/15 Bernard Katz      Br Monitor        Review budget to actual results.                                  0.20   750      150.00
                           cash
09/16/15 Bernard Katz      Br Oper results   Review budget to actual results.                                  0.80   750      600.00

09/16/15 Bernard Katz      Br review trans Meeting with Counsel re: CR retention documents, Buchanan           2.50   750     1,875.00
                                           conflicts, DIP budget and Trinity cash management.

09/17/15 Bernard Katz      Lit general     Meet with C. Zucker re: Trinity analysis for 10/2 hearing.          0.30   750      225.00
09/17/15 Bernard Katz      Lit general     Telephone conference with Counsel re: Court conference and          0.70   750      525.00
                                           document discovery.
09/18/15 Bernard Katz      Br review trans Phone conference with Counsel re: Trinity.                          0.50   750      375.00

09/18/15 Bernard Katz      Br review trans Phone conference with C. Zucker re: exhibits for meeting with       0.50   750      375.00
                                           Trinity.
09/21/15 Bernard Katz      Br Asset/Liab Telephone conference with Buck re: intercompany liabilities.          1.00   750      750.00

09/21/15 Bernard Katz      Br Cash col       Review cash collateral budget without Trinity obligated           1.80   750     1,350.00
                           bud               expenses (1.3); review memo relating to Trinity obligated
                                             expenses (.5).
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Date     Name                Activity         Narrative                                                       Hours    Rate   Amount
09/21/15 Bernard Katz        Br Asset/Liab    Telephone conference with Buck re: intercompany liabilities.      0.50    750     375.00

09/21/15 Bernard Katz        Br Oper results Meeting with P. Hennelly re: budget vs. actual for week ending     0.70   750      525.00
                                             9/13.
09/22/15 Bernard Katz        Br Asset/Liab Phone calls with C. Zucker re: shared services.                      0.40   750      300.00
09/25/15 Bernard Katz        Br DIP facility Telephone conference with Debtor's FA re: DIP budget and           1.00   750      750.00
                                             Trinity reimbursement of pre-petition obligations.
09/25/15 Bernard Katz        Br Doc request Review Trinity information provided to Counsel and discuss          1.50   750     1,125.00
                                             with Counsel.
09/25/15 Bernard Katz        Br review trans Telephone conference with Counsel re: call with Buck.              0.50   750      375.00

09/28/15 Bernard Katz     Br DIP facility Meet with C. Zucker re: DIP budget and document review.               0.80   750      600.00
09/28/15 Bernard Katz     Br Doc review Meeting with Counsel re: Trinity documents and settlement               0.70   750      525.00
                                          proposals.
09/29/15 Bernard Katz     Br Doc review Review B. Katz Certification (.6); review Trinity documents             1.00   750      750.00
                                          (.4).
         Bernard Katz Total                                                                                    56.60          42,450.00
08/19/15 Clifford Zucker  Br Eval sale    Review/analysis of bid procedures and stalking horse motion.          1.30   710       923.00

08/19/15 Clifford Zucker     Br Eval sale     Review/analysis of disclosure schedules to asset purchase         0.70   710      497.00
                                              agreement.
08/19/15 Clifford Zucker     Br Eval sale     Review/analysis of Prime asset purchase agreement.                1.40   710      994.00
08/19/15 Clifford Zucker     Br First Day     Review/analysis of Ricci affidavit on first day pleadings.        0.80   710      568.00
                             Motions
08/19/15 Clifford Zucker     Br review trans Telephone conference with Counsel on workplan.                     0.30   710      213.00

08/19/15 Clifford Zucker     Br review trans Telephone conferences with B. Katz on workplan, case               0.40   710      284.00
                                             issues.
08/20/15   Clifford Zucker   Br Asset/Liab Review/analysis of 7/15 consolidated financial statements.           0.60   710      426.00
08/20/15   Clifford Zucker   Br Asset/Liab Review/analysis of 7/15 internal financial statements.               0.70   710      497.00
08/20/15   Clifford Zucker   Br Asset/Liab Review/analysis of FY 14 audited financial statements.               0.80   710      568.00
08/20/15   Clifford Zucker   Br Doc request Prepare preliminary document request.                               0.50   710      355.00

08/20/15 Clifford Zucker     Br Eval sale  Prepare open points issue list on bid procedures.                    0.50   710      355.00
08/20/15 Clifford Zucker     Br Eval sale  Review/analysis of limited objection to bid procedures by St.        0.60   710      426.00
                                           Barnabas.
08/21/15 Clifford Zucker     Br Eval sale  Review/comments to committee response to sale motion.                0.50   710      355.00
08/21/15 Clifford Zucker     Br Eval sale  Review/comments to counsel redline asset purchase                    1.00   710      710.00
                                           agreement.
08/21/15 Clifford Zucker     Br Eval sale  Telephone conference with Counsel on bid procedures.                 0.30   710      213.00
08/21/15 Clifford Zucker     Br Comm. Mtg. Committee call on case status and pending hearing.                   0.40   710      284.00

08/21/15 Clifford Zucker     Br review trans Review/analysis of St. Barnabas motion to quash subpoena.          0.60   710      426.00

08/24/15 Clifford Zucker     Br Doc request Review/comments to Trinity document request.                        0.50   710      355.00

08/24/15 Clifford Zucker     Br Eval sale     Telephone conference with Counsel on board procedures             0.20   710      142.00
                                              hearing.
08/24/15 Clifford Zucker     Br Eval sale     Meeting with J. Baum on purchase price adjustment and roll-       0.50   710      355.00
                                              up.
08/24/15 Clifford Zucker     Br Eval sale     Review/analysis of purchase price adjustment calculation.         0.60   710      426.00
08/25/15 Clifford Zucker     Br Asset/Liab    Telephone conference with B. Katz on shared services.             0.30   710      213.00
08/25/15 Clifford Zucker     Br Asset/Liab    Telephone conferences with P. Hennelly on shared services         0.50   710      355.00
                                              and document request.
08/25/15 Clifford Zucker     Br Cash col      Review/analysis of 13 week DIP projection.                        1.40   710      994.00
                             bud
08/25/15 Clifford Zucker     Br Cash col    Review/analysis of motion and orders for post-petition              1.20   710      852.00
                             bud            financing.
08/25/15 Clifford Zucker     Br Doc request Telephone conference with Counsel on revisions to document          0.30   710      213.00
                                            request.
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Date     Name                Activity       Narrative                                                         Hours    Rate   Amount
08/25/15 Clifford Zucker     Br Doc request Review/analysis of revised Trinity document request.                0.40    710     284.00

08/25/15 Clifford Zucker     Br Eval sale    Review/analysis of approved bid procedures.                        0.40   710      284.00
08/25/15 Clifford Zucker     Br review trans Review/comments to confidentiality agreement.                      0.30   710      213.00

08/26/15 Clifford Zucker     Br Asset/Liab   Review/analysis of detail trial balance.                           0.80   710      568.00
08/26/15 Clifford Zucker     Br Cash col     Telephone conferences with debtor's financial advisor on           0.60   710      426.00
                             bud             budgets.
08/26/15 Clifford Zucker     Br DIP facility Telephone conference with Counsel on DIP discussions.              0.30   710      213.00
08/26/15 Clifford Zucker     Br Oper results Review/analysis of budget/actual variances for W/E 8/16 &          0.80   710      568.00
                                             8/23.
08/26/15 Clifford Zucker     Br review trans Review/analysis of BONY advisory.                                  0.50   710      355.00

08/26/15 Clifford Zucker     Br review trans Review/comments to retention papers.                               0.50   710      355.00

08/27/15 Clifford Zucker     Br review trans Telephone conferences with B. Katz on case issues.                 0.30   710      213.00

08/31/15 Clifford Zucker     Br review trans Telephone conference with Counsel on case status.                  0.20   710      142.00

08/31/15 Clifford Zucker     Br Eval sale    Meet with B. Katz on St. Barnabas discussion.                      0.20   710      142.00
08/31/15 Clifford Zucker     Br review trans Review/analysis of correspondence from counsel on case             0.40   710      284.00
                                             issues and status.
09/01/15 Clifford Zucker     Br Cash col     Review/analysis of cash flow projection.                           0.80   710      568.00
                             bud
09/01/15 Clifford Zucker     Br Cash col     Review/analysis of post-petition shared services summary.          0.40   710      284.00
                             bud
09/02/15 Clifford Zucker     Br review trans Phone call with B. Katz re: Trinity and DIP.                       0.20   710      142.00

09/04/15   Clifford Zucker   Br Operations     Review/analysis of weekly correspondence and activity.           0.30   710      213.00
09/08/15   Clifford Zucker   Br Asset/Liab     Meeting with P. Hennelly on contract review parameters.          0.40   710      284.00
09/08/15   Clifford Zucker   Br Asset/Liab     Review/analysis of financial statements.                         0.60   710      426.00
09/08/15   Clifford Zucker   Br Comm. Mtg.     Committee call on financial and legal update.                    0.70   710      497.00

09/08/15 Clifford Zucker     Br DIP facility Meeting with B. Katz on DIP issue.                                 0.20   710      142.00
09/08/15 Clifford Zucker     Br DIP facility Telephone conferences with counsel on data room, DIP               0.60   710      426.00
                                             documents.
09/08/15 Clifford Zucker     Br Oper results Telephone conference with J. Baum on budget/actual                 0.20   710      142.00
                                             reporting.
09/08/15 Clifford Zucker     Br review trans Review/comments to motion to access information and terms          0.40   710      284.00
                                             of retention.
09/09/15 Clifford Zucker     Br Asset/Liab Review/analysis of vendor contracts.                                 1.20   710      852.00
09/09/15 Clifford Zucker     Br DIP facility Review/comments to revised interim DIP order.                      0.60   710      426.00
09/11/15 Clifford Zucker     Br Oper results Review/analysis of weekly reporting package.                       0.50   710      355.00

09/15/15 Clifford Zucker     Br Cash col       Meet P. Hennelly on vendor activity.                             0.40   710      284.00
                             bud
09/15/15 Clifford Zucker     Br Cash col       Review/analysis of vendor accounts payable files.                1.80   710     1,278.00
                             bud
09/16/15 Clifford Zucker     Br Asset/Liab     Meet with counsel and P. Hennelly re vendor activity.            1.00   710      710.00
09/16/15 Clifford Zucker     Br Asset/Liab     Telephone conference with Trinity on shared services.            0.70   710      497.00
09/16/15 Clifford Zucker     Br Cash col       Meet with counsel on cash collateral issues.                     0.30   710      213.00
                             bud
09/16/15 Clifford Zucker     Br review trans   Review/comments to counsel letter to the court on discovery.     0.40   710      284.00

09/16/15 Clifford Zucker     Br review trans Review/comments to Trinity confidentiality agreement.              0.40   710      284.00

09/17/15   Clifford Zucker   Br Asset/Liab     Review/analysis of schedule of assets and liabilities.           2.40   710     1,704.00
09/17/15   Clifford Zucker   Br Asset/Liab     Review/analysis of statement of financial affairs.               1.90   710     1,349.00
09/17/15   Clifford Zucker   Lit general       Meet with B. Katz re: Trinity analysis for 10/2 hearing.         0.30   710       213.00
09/18/15   Clifford Zucker   Br Monitor        Telephone conference with P. Hennelly on cash management.        0.20   710       142.00
                             cash
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Date     Name                Activity        Narrative                                                         Hours    Rate   Amount
09/18/15 Clifford Zucker     Br Oper results Meet J. Baum on budget/actual reporting.                            0.20    710     142.00

09/18/15 Clifford Zucker     Br review trans Telephone conference with B. Katz on discussions with               0.50   710      355.00
                                             counsel, exhibits for Trinity meeting.
09/21/15 Clifford Zucker     Br Comm. Mtg. Committee call on financial and legal update.                         0.60   710      426.00

09/21/15 Clifford Zucker     Br Oper results Review/analysis of operating results W/E 9/13.                      0.50   710      355.00

09/21/15 Clifford Zucker     Br Oper results Review/analysis of operating results W/E 9/6.                       0.60   710      426.00

09/21/15 Clifford Zucker     Br Projections Meet with P. Hennelly on cash flow projection breakdown.             0.40   710      284.00
09/21/15 Clifford Zucker     Br Projections Review/analysis of cash flow projection with actual updates.         1.20   710      852.00

09/22/15 Clifford Zucker     Br Asset/Liab     Telephone conferences with B. Katz on shared services.            0.40   710      284.00
09/22/15 Clifford Zucker     Br Asset/Liab     Telephone conferences with P. Hennelly on shared services         0.30   710      213.00
                                               expense analysis.
09/22/15 Clifford Zucker     Br Cash col       Review/analysis of cash flow model sensitivity.                   2.50   710     1,775.00
                             bud
09/22/15 Clifford Zucker     Br Cash col       Review/analysis of exhibits for counsel on cash flow              1.20   710      852.00
                             bud               projections.
09/22/15 Clifford Zucker     Br Cash col       Review/comments to shared services and cash flow memo.            0.50   710      355.00
                             bud
09/24/15 Clifford Zucker     Br Cash col       Review/analysis of updated exhibits for counsel on DIP.           0.50   710      355.00
                             bud
09/24/15   Clifford Zucker   Br Projections  Review/analysis of daily transaction activity.                      0.50   710      355.00
09/24/15   Clifford Zucker   Br Projections  Review/analysis of support for liquidity projection.                0.60   710      426.00
09/25/15   Clifford Zucker   Br Asset/Liab   Review/analysis of core program correspondence.                     0.30   710      213.00
09/25/15   Clifford Zucker   Br Asset/Liab   Review/analysis of document production on shared services           1.20   710      852.00
                                             and projections.
09/28/15 Clifford Zucker     Br Doc request Review correspondence from counsel to committee on                   0.40   710      284.00
                                             document production.
09/28/15 Clifford Zucker     Br Oper results Review/analysis of budget/actual reporting package.                 0.50   710      355.00

09/28/15   Clifford Zucker   Br Projections    Meet with counsel on budgets, projection support.                 0.80   710      568.00
09/28/15   Clifford Zucker   Br Projections    Telephone conference with company on budgets.                     0.20   710      142.00
09/28/15   Clifford Zucker   Br DIP facility   Meet with B. Katz on DIP budget and document review.              0.80   710      568.00
09/29/15   Clifford Zucker   Br Oper results   Review/analysis of budget/actual cash needs reconciliation.       0.40   710      284.00

09/29/15 Clifford Zucker   Br Exec         Discussion with P. Hennelly on contract review                        0.20   710      142.00
                           contract
         Clifford Zucker Total                                                                                  54.80          38,908.00
08/20/15 Joseph Baum       Br review trans Download and review APA.                                              1.70   590     1,003.00

08/20/15 Joseph Baum         Br Histor info    Review July 2015 financial package.                               1.50   590      885.00
08/20/15 Joseph Baum         Br Asset/Liab     Telephone conference with B. Katz and counsel re: liabilities     0.20   590      118.00
                                               to be assumed and rejected.
08/20/15 Joseph Baum         Br Asset/Liab     Telephone conference with B. Katz re: assumed and excluded        0.30   590      177.00
                                               assets and liabilities.
08/20/15 Joseph Baum         Br review trans   Telephone conference with B. Katz, counsel to the Committee       0.20   590      118.00
                                               and Debtor to discuss APA.
08/20/15 Joseph Baum         Br Asset/Liab     Telephone conference with T. Buck re: assumed and                 0.10   590       59.00
                                               excluded assets and liabilities.
08/21/15 Joseph Baum         Br review trans   Review detailed trial balances and roll up for W/C                1.40   590      826.00
                                               calculations.
08/23/15 Joseph Baum         Br Budget Rev     Prepare reconciliation of July 2015 trial balance to W/C          1.20   590      708.00
                                               calculation.
08/23/15 Joseph Baum         Br Budget Rev     Review W/C analysis from T. Buck.                                 0.60   590      354.00
08/23/15 Joseph Baum         Br Budget Rev     Telephone conference with T. Buck to walk through W/C             0.30   590      177.00
                                               calculations.
08/23/15 Joseph Baum         Br review trans   Review APA.                                                       1.30   590      767.00
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Date     Name                Activity        Narrative                                                           Hours    Rate   Amount
08/23/15 Joseph Baum         Br review trans Telephone conference with B. Katz re: W/C calculations.               0.30    590     177.00

08/24/15 Joseph Baum         Br Eval sale    Meeting with C. Zucker on purchase price adjustment and roll-         0.50   590      295.00
                                             up.
08/26/15 Joseph Baum         Br Oper results Review weekly liquidity report for W/E 8/23.                          0.30   590      177.00

09/08/15 Joseph Baum         Br Flash report Review flash reports for W/E 8/16 (.2); W/E 8/23 (.2) and 8/31        0.80   590      472.00
                                             (.4).
09/08/15 Joseph Baum         Br Oper results Telephone conference with C. Zucker re: budget/actual                 0.20   590      118.00
                                             reporting.
09/10/15 Joseph Baum         Br Flash report Review weekly and cumulative cash results through 8/30/15             1.60   590      944.00
                                             (1.3); telephone conference with T. Buck to discuss variances
                                             and cash balances (.3).
09/11/15 Joseph Baum         Br review trans Telephone conference with Eisner, B. Katz and P. Hennelly             0.60   590      354.00
                                             re: shared services.
09/18/15 Joseph Baum         Br Oper results Meet C. Zucker re: budget/actual reporting.                           0.20   590      118.00

09/22/15 Joseph Baum       Br Budget Rev Review/analyze 13 week budget.                                            0.40   590       236.00
         Joseph Baum Total                                                                                        13.70           8,083.00
08/25/15 Maria Valle       Br Case Admin Perform conflict check on creditors and related parties in                2.70   195       526.50
                                          bankruptcy filing
         Maria Valle Total                                                                                         2.70            526.50
08/25/15 Patricia Hennelly Br Asset/Liab Telephone conferences with C. Zucker re shared services and               0.50   590      295.00
                                          document request.
08/25/15 Patricia Hennelly Br Doc request Telephone conference with Counsel and B. Katz re Trinity                 0.50   590      295.00
                                          document request.
08/25/15 Patricia Hennelly Br Doc review Review first day motions and DIP budget                                   1.10   590      649.00
08/25/15 Patricia Hennelly Br Doc request Review document request list                                             0.70   590      413.00

09/08/15 Patricia Hennelly   Br Asset/Liab     Meeting with C. Zucker re contract review parameters.               0.40   590       236.00
09/08/15 Patricia Hennelly   Br Exec           Review contracts to determine the parties to the contract           4.20   590     2,478.00
                             contract
09/09/15 Patricia Hennelly   Br Exec           Contract review - identify supply chain vendor contracts in the     5.10   590     3,009.00
                             contract          dataroom; ascertain parties and terms.
09/09/15 Patricia Hennelly   Br Exec           Phone call with B. Katz re: global contracts                        0.70   590      413.00
                             contract
09/10/15 Patricia Hennelly   Br Exec           Review supply chain contracts                                       2.70   590     1,593.00
                             contract
09/11/15 Patricia Hennelly   Br review trans   Telephone conference with Eisner, B. Katz and J. Baum re            0.60   590      354.00
                                               shared services.
09/14/15 Patricia Hennelly   Br Cash col       Review DIP Budget detail by vendor                                  4.80   590     2,832.00
                             bud
09/14/15 Patricia Hennelly   Br Cash col       Telephone conference with T. Buck to review data file               0.60   590      354.00
                             bud
09/15/15 Patricia Hennelly   Br Cash col       Meet C. Zucker re vendor activity.                                  0.40   590      236.00
                             bud
09/15/15 Patricia Hennelly   Br Cash col       Vendor analysis for DIP Budget                                      2.30   590     1,357.00
                             bud
09/16/15 Patricia Hennelly   Br Asset/Liab     Meet with counsel and C. Zucker re vendor activity(1.0). Prep       1.50   590      885.00
                                               for call with Trinity Team(.5).
09/16/15 Patricia Hennelly   Br Asset/Liab     Telephone conference with Trinity team to dsicuss cash              1.10   590      649.00
                                               management.
09/18/15 Patricia Hennelly   Br Monitor        Telephone conference with C. Zucker re cash management.             0.20   590      118.00
                             cash
09/18/15 Patricia Hennelly   Br Projections Review and flowchart cash management                                   1.50   590      885.00
09/20/15 Patricia Hennelly   Br Doc review Review documents added to the Share Drive                               1.30   590      767.00
09/21/15 Patricia Hennelly   Br Oper results Review flash report for week ending 9/13 with B. Katz                 0.70   590      413.00

09/21/15 Patricia Hennelly   Br Projections Revise DIP Budget to exclude Trinity obligations                       5.20   590     3,068.00
09/21/15 Patricia Hennelly   Br Projections Meet with C. Zucker re cash flow projection breakdown.                 0.40   590       236.00
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Date     Name                Activity      Narrative                                                         Hours    Rate   Amount
09/21/15 Patricia Hennelly   Br Comm. Mtg. Telephone conference with Committee                                 0.80    590     472.00

09/22/15 Patricia Hennelly   Br Asset/Liab   Telephone conferences with C. Zucker re shared services           0.30   590       177.00
                                             expense analysis.
09/22/15 Patricia Hennelly   Br Projections Update exhibits for Counsel                                        2.70   590      1,593.00
09/24/15 Patricia Hennelly   Br Projections Revise exhibits for Counsel                                        1.40   590        826.00
09/25/15 Patricia Hennelly   Br Flash report Review flash report                                               1.60   590        944.00

09/25/15 Patricia Hennelly   Br Flash report Telephone conference with T. Buck to review flash report          0.50   590       295.00
                                             variances
09/28/15 Patricia Hennelly   Br Exec         Review contracts to identify obligated parties.                   2.60   590      1,534.00
                             contract
09/28/15 Patricia Hennelly   Br Flash report Review and revise flash report                                    1.80   590      1,062.00

09/29/15 Patricia Hennelly  Br Exec          Contract review                                                   3.70   590      2,183.00
                            contract
09/29/15 Patricia Hennelly Br Exec           Discussion with C. Zucker re contract review                      0.20   590       118.00
                            contract
09/29/15 Patricia Hennelly Br Exec           Telephone conference with B. Mankovetsky re contracts             0.30   590       177.00
                            contract
         Patricia Hennelly Total                                                                              52.40           30,916.00
08/20/15 Rosellen Martoken Br Case Admin     Review of documents on docket (.3); prepare Declaration of        2.60   295        767.00
                                             B. Katz in support of Retention of CohnReznick.
09/01/15 Rosellen Martoken Br Case Admin     Revisions to Katz Declaration, including additional               4.10   295      1,209.50
                                             disclosures. Prepare Application to retain CohnReznick and
                                             proposed form of Order
09/02/15 Rosellen Martoken Br Case Admin     Work on comments to CR retention documents; email same            0.80   295       236.00
                                             to counsel
09/14/15 Rosellen Martoken Br Case Admin     Updates to Katz Declaration re: additional disclosures            1.70   295       501.50
                                             requested by the US Trustee. Research re: same.
09/15/15 Rosellen Martoken Br Case Admin     Updates to retention Declaration of B. Katz. Email to counsel     0.30   295        88.50
                                             re: same.
09/16/15 Rosellen Martoken Br Case Admin     Revisions to Katz Declaration upon advice of counsel; discuss     0.90   295       265.50
                                             changes with counsel and B. Katz.
09/22/15 Rosellen Martoken Br Case Admin     Review email from counsel re: additional information              0.20   295        59.00
                                             requested by UST. Review response re: same.
09/30/15 Rosellen Martoken Br Case Admin     Arrange for execution of Trinity confidentiality agreement;       0.20   295        59.00
                                             email to counsel re: same.
         Rosellen Martoken Total                                                                              10.80            3,186.00
09/08/15 Simone Simpson Br Budget Rev Review of DIP Projected/Actual budget provided                           1.30   295        383.50
09/08/15 Simone Simpson Br Oper results Preparation of budget to actual analyses for the 3 weeks               2.90   295        855.50
                                        provided and calculation of variances.
09/09/15 Simone Simpson Br Exec         Review of contracts (batches 1 & 2) for agreements not                 7.50   295      2,212.50
                          contract      including Saint Michael's as a party.
09/10/15 Simone Simpson Br Budget Rev Prepared schedule of vendors (excluding MD, DO and PC's).                3.20   295       944.00

09/10/15 Simone Simpson      Br Oper results Review/updates to budget to actual analyses                       2.00   295       590.00

09/18/15   Simone Simpson
                        Br Budget Rev        Budget to Actual DIP analysis.                                    0.70   295        206.50
09/20/15   Simone Simpson
                        Br Budget Rev        Budget to actual DIP analysis                                     0.50   295        147.50
09/25/15   Simone Simpson
                        Br Budget Rev        Weekly budget to actual DIP analysis.                             0.60   295        177.00
09/29/15   Simone Simpson
                        Br Exec              Review of contracts and documented contracts reviewed in          5.80   295      1,711.00
                        contract             summary schedule.
09/30/15 Simone Simpson Br Exec              Review of contracts and documented contracts reviewed in          6.10   295      1,799.50
                        contract             summary schedule.
         Simone Simpson Total                                                                                 30.60            9,027.00
         Grand Total                                                                                         221.60          133,096.50
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Date     Name                  Activity        Narrative                                                       Hours    Rate   Amount
08/20/15 Bernard Katz          Br Asset/Liab   Telephone conferences with Debtor's Counsel and FA re:            1.30    750     975.00
                                               working Capital and Assumed Liabilities.
08/20/15 Bernard Katz          Br Asset/Liab   Telephone conference with J. Baum and counsel re: liabilities     0.20   750      150.00
                                               to be assumed and rejected.
08/20/15 Bernard Katz          Br Asset/Liab   Telephone conference with J. Baum re: assumed and                 0.30   750      225.00
                                               excluded assets and liabilities.
08/20/15   Clifford Zucker     Br Asset/Liab   Review/analysis of 7/15 consolidated financial statements.        0.60   710      426.00
08/20/15   Clifford Zucker     Br Asset/Liab   Review/analysis of 7/15 internal financial statements.            0.70   710      497.00
08/20/15   Clifford Zucker     Br Asset/Liab   Review/analysis of FY 14 audited financial statements.            0.80   710      568.00
08/20/15   Joseph Baum         Br Asset/Liab   Telephone conference with B. Katz and counsel re: liabilities     0.20   590      118.00
                                               to be assumed and rejected.
08/20/15 Joseph Baum           Br Asset/Liab   Telephone conference with B. Katz re: assumed and excluded        0.30   590      177.00
                                               assets and liabilities.
08/20/15 Joseph Baum           Br Asset/Liab   Telephone conference with T. Buck re: assumed and                 0.10   590       59.00
                                               excluded assets and liabilities.
08/21/15 Bernard Katz          Br Asset/Liab   Telephone conferences with Debtor's, FA re: liability             0.50   750      375.00
                                               categories.
08/25/15 Bernard Katz          Br Asset/Liab   Telephone conference with C. Zucker on shared services.           0.30   750      225.00
08/25/15 Clifford Zucker       Br Asset/Liab   Telephone conference with B. Katz on shared services.             0.30   710      213.00
08/25/15 Clifford Zucker       Br Asset/Liab   Telephone conferences with P. Hennelly on shared services         0.50   710      355.00
                                               and document request.
08/25/15 Patricia Hennelly     Br Asset/Liab   Telephone conferences with C. Zucker re shared services and       0.50   590      295.00
                                               document request.
08/26/15 Clifford Zucker       Br Asset/Liab   Review/analysis of detail trial balance.                          0.80   710      568.00
08/27/15 Bernard Katz          Br Asset/Liab   Telephone conference with Debtor's Counsel re: W/C claim          0.30   750      225.00
                                               payments.
09/08/15   Clifford Zucker     Br Asset/Liab   Meeting with P. Hennelly on contract review parameters.           0.40   710      284.00
09/08/15   Clifford Zucker     Br Asset/Liab   Review/analysis of financial statements.                          0.60   710      426.00
09/08/15   Patricia Hennelly   Br Asset/Liab   Meeting with C. Zucker re contract review parameters.             0.40   590      236.00
09/09/15   Clifford Zucker     Br Asset/Liab   Review/analysis of vendor contracts.                              1.20   710      852.00
09/16/15   Clifford Zucker     Br Asset/Liab   Meet with counsel and P. Hennelly re vendor activity.             1.00   710      710.00
09/16/15   Clifford Zucker     Br Asset/Liab   Telephone conference with Trinity on shared services.             0.70   710      497.00
09/16/15   Patricia Hennelly   Br Asset/Liab   Meet with counsel and C. Zucker re vendor activity(1.0). Prep     1.50   590      885.00
                                               for call with Trinity Team(.5).
09/16/15 Patricia Hennelly     Br Asset/Liab   Telephone conference with Trinity team to dsicuss cash            1.10   590      649.00
                                               management.
09/17/15 Clifford Zucker       Br Asset/Liab   Review/analysis of schedule of assets and liabilities.            2.40   710     1,704.00
09/17/15 Clifford Zucker       Br Asset/Liab   Review/analysis of statement of financial affairs.                1.90   710     1,349.00
09/21/15 Bernard Katz          Br Asset/Liab   Telephone conference with Buck re: intercompany liabilities.      1.00   750       750.00

09/21/15 Bernard Katz          Br Asset/Liab   Telephone conference with Buck re: intercompany liabilities.      0.50   750      375.00

09/22/15 Bernard Katz          Br Asset/Liab  Phone calls with C. Zucker re: shared services.                    0.40   750      300.00
09/22/15 Clifford Zucker       Br Asset/Liab  Telephone conferences with B. Katz on shared services.             0.40   710      284.00
09/22/15 Clifford Zucker       Br Asset/Liab  Telephone conferences with P. Hennelly on shared services          0.30   710      213.00
                                              expense analysis.
09/22/15 Patricia Hennelly     Br Asset/Liab Telephone conferences with C. Zucker re shared services             0.30   590      177.00
                                              expense analysis.
09/25/15 Clifford Zucker       Br Asset/Liab Review/analysis of core program correspondence.                     0.30   710      213.00
09/25/15 Clifford Zucker       Br Asset/Liab Review/analysis of document production on shared services           1.20   710      852.00
                                              and projections.
                               Br Asset/Liab Total                                                              23.30          16,207.00
08/23/15 Joseph Baum           Br Budget Rev Prepare reconciliation of July 2015 trial balance to W/C            1.20   590       708.00
                                              calculation.
08/23/15 Joseph Baum           Br Budget Rev Review W/C analysis from T. Buck.                                   0.60   590      354.00
08/23/15 Joseph Baum           Br Budget Rev Telephone conference with T. Buck to walk through W/C               0.30   590      177.00
                                              calculations.
08/26/15 Bernard Katz          Br Budget Rev Review budget to actual for w/e 8/23 and discuss with Debtors       2.20   750     1,650.00
                                              FA(1.6). Telephone conference with Counsel re: same(.6)

09/08/15 Simone Simpson        Br Budget Rev Review of DIP Projected/Actual budget provided                      1.30   295      383.50
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Date     Name                Activity      Narrative                                                       Hours    Rate   Amount
09/10/15 Simone Simpson      Br Budget Rev Prepared schedule of vendors (excluding MD, DO and PC's).         3.20    295     944.00

09/18/15   Simone Simpson    Br Budget Rev Budget to Actual DIP analysis.                                    0.70   295       206.50
09/20/15   Simone Simpson    Br Budget Rev Budget to actual DIP analysis                                     0.50   295       147.50
09/22/15   Joseph Baum       Br Budget Rev Review/analyze 13 week budget.                                    0.40   590       236.00
09/25/15   Simone Simpson    Br Budget Rev Weekly budget to actual DIP analysis.                             0.60   295       177.00
                             Br Budget Rev Total                                                            11.00           4,983.50
08/20/15 Rosellen Martoken   Br Case Admin Review of documents on docket (.3); prepare Declaration of        2.60   295       767.00
                                           B. Katz in support of Retention of CohnReznick.
08/25/15 Maria Valle         Br Case Admin Perform conflict check on creditors and related parties in        2.70   195      526.50
                                           bankruptcy filing
09/01/15 Rosellen Martoken   Br Case Admin Revisions to Katz Declaration, including additional               4.10   295     1,209.50
                                           disclosures. Prepare Application to retain CohnReznick and
                                           proposed form of Order
09/02/15 Rosellen Martoken   Br Case Admin Work on comments to CR retention documents; email same            0.80   295      236.00
                                           to counsel
09/14/15 Rosellen Martoken   Br Case Admin Updates to Katz Declaration re: additional disclosures            1.70   295      501.50
                                           requested by the US Trustee. Research re: same.
09/15/15 Rosellen Martoken   Br Case Admin Updates to retention Declaration of B. Katz. Email to counsel     0.30   295       88.50
                                           re: same.
09/16/15 Rosellen Martoken   Br Case Admin Revisions to Katz Declaration upon advice of counsel; discuss     0.90   295      265.50
                                           changes with counsel and B. Katz.
09/22/15 Rosellen Martoken   Br Case Admin Review email from counsel re: additional information              0.20   295       59.00
                                           requested by UST. Review response re: same.
09/30/15 Rosellen Martoken   Br Case Admin Arrange for execution of Trinity confidentiality agreement;       0.20   295       59.00
                                           email to counsel re: same.
                             Br Case Admin Total                                                            13.50           3,712.50
08/25/15 Clifford Zucker     Br Cash col   Review/analysis of 13 week DIP projection.                        1.40   710       994.00
                             bud
08/25/15 Clifford Zucker     Br Cash col   Review/analysis of motion and orders for post-petition            1.20   710      852.00
                             bud           financing.
08/26/15 Clifford Zucker     Br Cash col   Telephone conferences with debtor's financial advisor on          0.60   710      426.00
                             bud           budgets.
09/01/15 Clifford Zucker     Br Cash col   Review/analysis of cash flow projection.                          0.80   710      568.00
                             bud
09/01/15 Clifford Zucker     Br Cash col   Review/analysis of post-petition shared services summary.         0.40   710      284.00
                             bud
09/14/15 Patricia Hennelly   Br Cash col   Review DIP Budget detail by vendor                                4.80   590     2,832.00
                             bud
09/14/15 Patricia Hennelly   Br Cash col   Telephone conference with T. Buck to review data file             0.60   590      354.00
                             bud
09/15/15 Clifford Zucker     Br Cash col   Meet P. Hennelly on vendor activity.                              0.40   710      284.00
                             bud
09/15/15 Clifford Zucker     Br Cash col   Review/analysis of vendor accounts payable files.                 1.80   710     1,278.00
                             bud
09/15/15 Patricia Hennelly   Br Cash col   Meet C. Zucker re vendor activity.                                0.40   590      236.00
                             bud
09/15/15 Patricia Hennelly   Br Cash col   Vendor analysis for DIP Budget                                    2.30   590     1,357.00
                             bud
09/16/15 Bernard Katz        Br Cash col   Review detail of DIP/cash collateral budget.                      1.30   750      975.00
                             bud
09/16/15 Clifford Zucker     Br Cash col   Meet with counsel on cash collateral issues.                      0.30   710      213.00
                             bud
09/21/15 Bernard Katz        Br Cash col   Review cash collateral budget without Trinity obligated           1.80   750     1,350.00
                             bud           expenses (1.3); review memo relating to Trinity obligated
                                           expenses (.5).
09/22/15 Clifford Zucker     Br Cash col   Review/analysis of cash flow model sensitivity.                   2.50   710     1,775.00
                             bud
09/22/15 Clifford Zucker     Br Cash col   Review/analysis of exhibits for counsel on cash flow              1.20   710      852.00
                             bud           projections.
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09/22/15 Clifford Zucker     Br Cash col   Review/comments to shared services and cash flow memo.               0.50    710     355.00
                             bud
09/24/15 Clifford Zucker     Br Cash col   Review/analysis of updated exhibits for counsel on DIP.              0.50   710      355.00
                             bud
                             Br Cash col bud Total                                                             22.80          15,340.00
08/21/15 Bernard Katz        Br Comm. Mtg. Committee call.                                                      0.40   750       300.00

08/21/15 Clifford Zucker     Br Comm. Mtg. Committee call on case status and pending hearing.                   0.40   710      284.00

09/08/15 Bernard Katz        Br Comm. Mtg. Committee call.                                                      1.00   750      750.00

09/08/15 Clifford Zucker     Br Comm. Mtg. Committee call on financial and legal update.                        0.70   710      497.00

09/21/15 Clifford Zucker     Br Comm. Mtg. Committee call on financial and legal update.                        0.60   710      426.00

09/21/15 Patricia Hennelly   Br Comm. Mtg. Telephone conference with Committee                                  0.80   590      472.00

                             Br Comm. Mtg. Total                                                                3.90           2,729.00
08/19/15   Bernard Katz      Br DIP facility Review DIP budget.                                                 1.20   750       900.00
08/19/15   Bernard Katz      Br DIP facility Telephone conference with Debtors, FA re: DIP budget.              1.30   750       975.00
08/19/15   Bernard Katz      Br DIP facility Review DIP, motion and loan documents.                             2.30   750     1,725.00
08/26/15   Bernard Katz      Br DIP facility Telephone conference with Debtor's FA re: revision to DIP          0.30   750       225.00
                                             budget.
08/26/15 Bernard Katz        Br DIP facility Telephone conference with Counsel re: Trinity DIP information      0.30   750      225.00
                                             and DIP hearing.
08/26/15 Clifford Zucker     Br DIP facility Telephone conference with Counsel on DIP discussions.              0.30   710      213.00
09/02/15 Bernard Katz        Br DIP facility Meeting with Counsel re: NDA, Trinity and DIP (.5); phone call     0.70   750      525.00
                                             with C. Zucker re: same (.2).
09/08/15 Bernard Katz        Br DIP facility Meet with C. Zucker on DIP issue.                                  0.20   750      150.00
09/08/15 Clifford Zucker     Br DIP facility Meeting with B. Katz on DIP issue.                                 0.20   710      142.00
09/08/15 Clifford Zucker     Br DIP facility Telephone conferences with counsel on data room, DIP               0.60   710      426.00
                                             documents.
09/09/15 Clifford Zucker     Br DIP facility Review/comments to revised interim DIP order.                      0.60   710      426.00
09/25/15 Bernard Katz        Br DIP facility Telephone conference with Debtor's FA re: DIP budget and           1.00   750      750.00
                                             Trinity reimbursement of pre-petition obligations.
09/28/15 Bernard Katz        Br DIP facility Meet with C. Zucker re: DIP budget and document review.            0.80   750       600.00
09/28/15 Clifford Zucker     Br DIP facility Meet with B. Katz on DIP budget and document review.               0.80   710       568.00
                             Br DIP facility                                                                   10.60           7,850.00
08/20/15 Clifford Zucker     Br Doc request Prepare preliminary document request.                               0.50   710       355.00

08/24/15 Bernard Katz        Br Doc request Telephone conference with Counsel re: Trinity document              0.50   750      375.00
                                            request.
08/24/15 Clifford Zucker     Br Doc request Review/comments to Trinity document request.                        0.50   710      355.00

08/25/15 Bernard Katz        Br Doc request Telephone conference with Counsel and P. Hennelly re:               0.50   750      375.00
                                            Trinity document request.
08/25/15 Clifford Zucker     Br Doc request Telephone conference with Counsel on revisions to document          0.30   710      213.00
                                            request.
08/25/15 Clifford Zucker     Br Doc request Review/analysis of revised Trinity document request.                0.40   710      284.00

08/25/15 Patricia Hennelly   Br Doc request Telephone conference with Counsel and B. Katz re Trinity            0.50   590      295.00
                                            document request.
08/25/15 Patricia Hennelly   Br Doc request Review document request list                                        0.70   590      413.00

08/31/15 Bernard Katz        Br Doc request Telephone conference with Counsel re: Trinity documents.            0.50   750      375.00

09/03/15 Bernard Katz        Br Doc request Phone call with Counsel re: Trinity documents.                      0.50   750      375.00

09/25/15 Bernard Katz        Br Doc request Review Trinity information provided to Counsel and discuss          1.50   750     1,125.00
                                            with Counsel.
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09/28/15 Clifford Zucker     Br Doc request Review correspondence from counsel to committee on                    0.40    710     284.00
                                            document production.
                             Br Doc request Total                                                                 6.80           4,824.00
08/25/15 Patricia Hennelly   Br Doc review Review first day motions and DIP budget                                1.10   590       649.00
09/20/15 Patricia Hennelly   Br Doc review Review documents added to the Share Drive                              1.30   590       767.00
09/28/15 Bernard Katz        Br Doc review Meeting with Counsel re: Trinity documents and settlement              0.70   750       525.00
                                            proposals.
09/29/15 Bernard Katz        Br Doc review Review B. Katz Certification (.6); review Trinity documents            1.00   750      750.00
                                            (.4).
                             Br Doc review Total                                                                  4.10           2,691.00
08/19/15 Clifford Zucker     Br Eval sale   Review/analysis of bid procedures and stalking horse motion.          1.30   710       923.00

08/19/15 Clifford Zucker     Br Eval sale     Review/analysis of disclosure schedules to asset purchase           0.70   710      497.00
                                              agreement.
08/19/15 Clifford Zucker     Br Eval sale     Review/analysis of Prime asset purchase agreement.                  1.40   710      994.00
08/20/15 Clifford Zucker     Br Eval sale     Prepare open points issue list on bid procedures.                   0.50   710      355.00
08/20/15 Clifford Zucker     Br Eval sale     Review/analysis of limited objection to bid procedures by St.       0.60   710      426.00
                                              Barnabas.
08/21/15 Clifford Zucker     Br Eval sale     Review/comments to committee response to sale motion.               0.50   710      355.00
08/21/15 Clifford Zucker     Br Eval sale     Review/comments to counsel redline asset purchase                   1.00   710      710.00
                                              agreement.
08/21/15 Clifford Zucker     Br Eval sale     Telephone conference with Counsel on bid procedures.                0.30   710      213.00
08/24/15 Clifford Zucker     Br Eval sale     Telephone conference with Counsel on board procedures               0.20   710      142.00
                                              hearing.
08/24/15 Clifford Zucker     Br Eval sale     Meeting with J. Baum on purchase price adjustment and roll-         0.50   710      355.00
                                              up.
08/24/15 Clifford Zucker     Br Eval sale     Review/analysis of purchase price adjustment calculation.           0.60   710      426.00
08/24/15 Joseph Baum         Br Eval sale     Meeting with C. Zucker on purchase price adjustment and roll-       0.50   590      295.00
                                              up.
08/25/15 Clifford Zucker     Br Eval sale     Review/analysis of approved bid procedures.                         0.40   710      284.00
08/27/15 Bernard Katz        Br Eval sale     Telephone conference with CFO from St. Barnabas re:                 0.60   750      450.00
                                              purchase price
08/28/15 Bernard Katz        Br Eval sale     Telephone conference with Debtor's counsel re: purchase             0.60   750      450.00
                                              price consideration.
08/28/15 Bernard Katz        Br Eval sale     Telephone conferences with Committee Counsel re: purchase           0.60   750      450.00
                                              price consideration.
08/31/15 Bernard Katz        Br Eval sale     Meet with C. Zucker re: St. Barnabas discussion.                    0.20   750       150.00
08/31/15 Clifford Zucker     Br Eval sale     Meet with B. Katz on St. Barnabas discussion.                       0.20   710       142.00
                             Br Eval sale                                                                        10.70           7,617.00
09/08/15 Patricia Hennelly   Br Exec          Review contracts to determine the parties to the contract           4.20   590     2,478.00
                             contract
09/09/15 Patricia Hennelly   Br Exec          Contract review - identify supply chain vendor contracts in the     5.10   590     3,009.00
                             contract         dataroom; ascertain parties and terms.
09/09/15 Patricia Hennelly   Br Exec          Phone call with B. Katz re: global contracts                        0.70   590      413.00
                             contract
09/09/15 Simone Simpson      Br Exec          Review of contracts (batches 1 & 2) for agreements not              7.50   295     2,212.50
                             contract         including Saint Michael's as a party.
09/10/15 Patricia Hennelly   Br Exec          Review supply chain contracts                                       2.70   590     1,593.00
                             contract
09/28/15 Patricia Hennelly   Br Exec          Review contracts to identify obligated parties.                     2.60   590     1,534.00
                             contract
09/29/15 Clifford Zucker     Br Exec          Discussion with P. Hennelly on contract review                      0.20   710      142.00
                             contract
09/29/15 Patricia Hennelly   Br Exec          Contract review                                                     3.70   590     2,183.00
                             contract
09/29/15 Patricia Hennelly   Br Exec          Discussion with C. Zucker re contract review                        0.20   590      118.00
                             contract
09/29/15 Patricia Hennelly   Br Exec          Telephone conference with B. Mankovetsky re contracts               0.30   590      177.00
                             contract
09/29/15 Simone Simpson      Br Exec          Review of contracts and documented contracts reviewed in            5.80   295     1,711.00
                             contract         summary schedule.
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09/30/15 Simone Simpson      Br Exec         Review of contracts and documented contracts reviewed in           6.10    295    1,799.50
                             contract        summary schedule.
                             Br Exec contract Total                                                            39.10          17,370.00
08/19/15 Bernard Katz        Br First Day    Review 1st day affidavit.                                          0.70   750       525.00
                             Motions
08/19/15 Clifford Zucker     Br First Day    Review/analysis of Ricci affidavit on first day pleadings.         0.80   710      568.00
                             Motions
                             Br First Day Motions Total                                                         1.50           1,093.00
09/08/15 Joseph Baum         Br Flash report Review flash reports for W/E 8/16 (.2); W/E 8/23 (.2) and 8/31     0.80   590       472.00
                                             (.4).
09/10/15 Joseph Baum         Br Flash report Review weekly and cumulative cash results through 8/30/15          1.60   590      944.00
                                             (1.3); telephone conference with T. Buck to discuss variances
                                             and cash balances (.3).
09/25/15 Patricia Hennelly   Br Flash report Review flash report                                                1.60   590      944.00

09/25/15 Patricia Hennelly   Br Flash report Telephone conference with T. Buck to review flash report           0.50   590      295.00
                                             variances
09/28/15 Patricia Hennelly   Br Flash report Review and revise flash report                                     1.80   590     1,062.00

                             Br Flash report Total                                                              6.30           3,717.00
08/20/15 Joseph Baum         Br Histor info Review July 2015 financial package.                                 1.50   590       885.00
                             Br Histor info Total                                                               1.50             885.00
09/09/15 Bernard Katz        Br Monitor      Phone calls with Counsel re: Trinity cash disbursements (.8);      2.00   750     1,500.00
                             cash            phone call with P. Hennelly re: global contracts (.7); phone
                                             call with Debtor's financial advisor re: cash management and
                                             Trinity (.5)
09/10/15 Bernard Katz        Br Monitor      Telephone call with counsel re: cash management.                   0.50   750      375.00
                             cash
09/16/15 Bernard Katz        Br Monitor      Telephone conference with Trinity re: cash management.             0.70   750      525.00
                             cash
09/16/15 Bernard Katz        Br Monitor      Review budget to actual results.                                   0.20   750      150.00
                             cash
09/18/15 Clifford Zucker     Br Monitor      Telephone conference with P. Hennelly on cash management.          0.20   710      142.00
                             cash
09/18/15 Patricia Hennelly   Br Monitor      Telephone conference with C. Zucker re cash management.            0.20   590      118.00
                             cash
                             Br Monitor cash Total                                                              3.80           2,810.00
08/26/15 Clifford Zucker     Br Oper results Review/analysis of budget/actual variances for W/E 8/16 &          0.80   710       568.00
                                             8/23.
08/26/15 Joseph Baum         Br Oper results Review weekly liquidity report for W/E 8/23.                       0.30   590      177.00

09/08/15 Clifford Zucker     Br Oper results Telephone conference with J. Baum on budget/actual                 0.20   710      142.00
                                             reporting.
09/08/15 Joseph Baum         Br Oper results Telephone conference with C. Zucker re: budget/actual              0.20   590      118.00
                                             reporting.
09/08/15 Simone Simpson      Br Oper results Preparation of budget to actual analyses for the 3 weeks           2.90   295      855.50
                                             provided and calculation of variances.
09/10/15 Simone Simpson      Br Oper results Review/updates to budget to actual analyses                        2.00   295      590.00

09/11/15 Clifford Zucker     Br Oper results Review/analysis of weekly reporting package.                       0.50   710      355.00

09/16/15 Bernard Katz        Br Oper results Review budget to actual results.                                   0.80   750      600.00

09/18/15 Clifford Zucker     Br Oper results Meet J. Baum on budget/actual reporting.                           0.20   710      142.00

09/18/15 Joseph Baum         Br Oper results Meet C. Zucker re: budget/actual reporting.                        0.20   590      118.00

09/21/15 Bernard Katz        Br Oper results Meeting with P. Hennelly re: budget vs. actual for week ending     0.70   750      525.00
                                             9/13.
09/21/15 Clifford Zucker     Br Oper results Review/analysis of operating results W/E 9/13.                     0.50   710      355.00
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09/21/15 Clifford Zucker       Br Oper results Review/analysis of operating results W/E 9/6.                    0.60    710     426.00

09/21/15 Patricia Hennelly     Br Oper results Review flash report for week ending 9/13 with B. Katz            0.70   590      413.00

09/28/15 Clifford Zucker       Br Oper results Review/analysis of budget/actual reporting package.              0.50   710      355.00

09/29/15 Clifford Zucker       Br Oper results Review/analysis of budget/actual cash needs reconciliation.      0.40   710      284.00

                               Br Oper results Total                                                           11.50           6,023.50
09/04/15 Clifford Zucker       Br Operations Review/analysis of weekly correspondence and activity.             0.30   710       213.00
                               Br Operations Total                                                              0.30             213.00
09/18/15 Patricia Hennelly     Br Projections Review and flowchart cash management                              1.50   590       885.00
09/21/15 Clifford Zucker       Br Projections Meet with P. Hennelly on cash flow projection breakdown.          0.40   710       284.00
09/21/15 Clifford Zucker       Br Projections Review/analysis of cash flow projection with actual updates.      1.20   710       852.00

09/21/15   Patricia Hennelly   Br Projections Revise DIP Budget to exclude Trinity obligations                  5.20   590     3,068.00
09/21/15   Patricia Hennelly   Br Projections Meet with C. Zucker re cash flow projection breakdown.            0.40   590       236.00
09/22/15   Patricia Hennelly   Br Projections Update exhibits for Counsel                                       2.70   590     1,593.00
09/24/15   Clifford Zucker     Br Projections Review/analysis of daily transaction activity.                    0.50   710       355.00
09/24/15   Clifford Zucker     Br Projections Review/analysis of support for liquidity projection.              0.60   710       426.00
09/24/15   Patricia Hennelly   Br Projections Revise exhibits for Counsel                                       1.40   590       826.00
09/28/15   Clifford Zucker     Br Projections Meet with counsel on budgets, projection support.                 0.80   710       568.00
09/28/15   Clifford Zucker     Br Projections Telephone conference with company on budgets.                     0.20   710       142.00
                               Br Projections Total                                                            14.90           9,235.00
08/19/15 Bernard Katz          Br review trans Review APA and bidding procedures.                               3.10   750     2,325.00

08/19/15 Bernard Katz          Br review trans Telephone conferences with C. Zucker on workplan, case           0.40   750      300.00
                                               issues.
08/19/15 Bernard Katz          Br review trans Telephone conference with Committee Counsel re: CR scope.        0.70   750      525.00

08/19/15 Clifford Zucker       Br review trans Telephone conference with Counsel on workplan.                   0.30   710      213.00

08/19/15 Clifford Zucker       Br review trans Telephone conferences with B. Katz on workplan, case             0.40   710      284.00
                                               issues.
08/20/15 Bernard Katz          Br review trans Telephone conferences with Committee Counsel re: APA,            1.50   750     1,125.00
                                               Bidding procedures, Trinity, etc.
08/20/15 Bernard Katz          Br review trans Telephone conference with J. Baum, counsel to the                0.20   750      150.00
                                               Committee and Debtor to discuss APA.
08/20/15 Joseph Baum           Br review trans Download and review APA.                                         1.70   590     1,003.00

08/20/15 Joseph Baum           Br review trans Telephone conference with B. Katz, counsel to the Committee      0.20   590      118.00
                                               and Debtor to discuss APA.
08/21/15 Bernard Katz          Br review trans Review changes to APA suggested by Committee Counsel.            1.40   750     1,050.00

08/21/15 Bernard Katz          Br review trans Review Committee objection to bid procedures.                    0.20   750      150.00

08/21/15 Bernard Katz          Br review trans Review St. Barnabas objection to bid procedures.                 0.50   750      375.00

08/21/15 Clifford Zucker       Br review trans Review/analysis of St. Barnabas motion to quash subpoena.        0.60   710      426.00

08/21/15 Joseph Baum           Br review trans Review detailed trial balances and roll up for W/C               1.40   590      826.00
                                               calculations.
08/23/15 Bernard Katz          Br review trans Review working capital definitions and support to benchmark      2.50   750     1,875.00
                                               calculations and discuss with Debtor's FA(1.7). Telephone
                                               conference with J. Baum re: W/C calculations.(.3). Telephone
                                               conference with Counsel re: same(.5)

08/23/15 Joseph Baum           Br review trans Review APA.                                                      1.30   590      767.00

08/23/15 Joseph Baum           Br review trans Telephone conference with B. Katz re: W/C calculations.          0.30   590      177.00
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08/24/15 Bernard Katz        Br review trans Meeting with Counsel re: APA and Bidding procedures.              1.50    750    1,125.00

08/25/15 Clifford Zucker     Br review trans Review/comments to confidentiality agreement.                     0.30   710      213.00

08/26/15 Bernard Katz        Br review trans Review Katz affidavit.                                            0.40   750      300.00

08/26/15 Clifford Zucker     Br review trans Review/analysis of BONY advisory.                                 0.50   710      355.00

08/26/15 Clifford Zucker     Br review trans Review/comments to retention papers.                              0.50   710      355.00

08/27/15 Bernard Katz        Br review trans Review Debtor's motion for an order approving amendment to        0.40   750      300.00
                                             CNN America contract and discuss with Counsel.
08/27/15 Bernard Katz        Br review trans Telephone conferences with C. Zucker re: case issues.             0.30   750      225.00

08/27/15 Clifford Zucker     Br review trans Telephone conferences with B. Katz on case issues.                0.30   710      213.00

08/28/15 Bernard Katz        Br review trans Telephone conference with SMMC Counsel re: purchase price         1.10   750      825.00
                                             and assumption of debt.
08/31/15 Bernard Katz        Br review trans Review Counsel's comments to CR retention application and         0.50   750      375.00
                                             update retention papers.
08/31/15 Clifford Zucker     Br review trans Telephone conference with Counsel on case status.                 0.20   710      142.00

08/31/15 Clifford Zucker     Br review trans Review/analysis of correspondence from counsel on case            0.40   710      284.00
                                             issues and status.
09/02/15 Clifford Zucker     Br review trans Phone call with B. Katz re: Trinity and DIP.                      0.20   710      142.00

09/08/15 Bernard Katz        Br review trans Review/analysis of budget v. actual and dataroom information      0.50   750      375.00

09/08/15 Clifford Zucker     Br review trans Review/comments to motion to access information and terms         0.40   710      284.00
                                             of retention.
09/10/15 Bernard Katz        Br review trans Telephone call with counsel re: CR retention - follow-up on       0.50   750      375.00
                                             UST comments.
09/10/15 Bernard Katz        Br review trans Review Buck email re: shared services.                            1.20   750      900.00

09/11/15 Bernard Katz        Br review trans Telephone conference with Debtor's FA re: shared services         0.40   750      300.00
                                             memo.
09/11/15 Bernard Katz        Br review trans Phone conference with Debtor's FA, P. Hennelly and J. Baum        0.60   750      450.00
                                             re: shared services memo.
09/11/15 Bernard Katz        Br review trans Phone conference with Counsel re: shared services memo            0.80   750      600.00
                                             and Trinity admin claim.
09/11/15 Joseph Baum         Br review trans Telephone conference with Eisner, B. Katz and P. Hennelly         0.60   590      354.00
                                             re: shared services.
09/11/15 Patricia Hennelly   Br review trans Telephone conference with Eisner, B. Katz and J. Baum re          0.60   590      354.00
                                             shared services.
09/15/15 Bernard Katz        Br review trans Phone conference with Counsel re: Buchanan and Trinity.           0.50   750      375.00

09/16/15 Bernard Katz        Br review trans Meeting with Counsel re: CR retention documents, Buchanan         2.50   750     1,875.00
                                             conflicts, DIP budget and Trinity cash management.

09/16/15 Clifford Zucker     Br review trans Review/comments to counsel letter to the court on discovery.      0.40   710      284.00

09/16/15 Clifford Zucker     Br review trans Review/comments to Trinity confidentiality agreement.             0.40   710      284.00

09/18/15 Bernard Katz        Br review trans Phone conference with Counsel re: Trinity.                        0.50   750      375.00

09/18/15 Bernard Katz        Br review trans Phone conference with C. Zucker re: exhibits for meeting with     0.50   750      375.00
                                             Trinity.
09/18/15 Clifford Zucker     Br review trans Telephone conference with B. Katz on discussions with             0.50   710      355.00
                                             counsel, exhibits for Trinity meeting.
09/25/15 Bernard Katz        Br review trans Telephone conference with Counsel re: call with Buck.             0.50   750      375.00
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Date      Name             Activity       Narrative                                                    Hours    Rate   Amount
                           Br review trans Total                                                        34.70          24,833.00
09/17/15 Bernard Katz      Lit general    Meet with C. Zucker re: Trinity analysis for 10/2 hearing.     0.30   750       225.00
09/17/15 Bernard Katz      Lit general    Telephone conference with Counsel re: Court conference and     0.70   750       525.00
                                          document discovery.
09/17/15 Clifford Zucker   Lit general    Meet with B. Katz re: Trinity analysis for 10/2 hearing.       0.30   710        213.00
                           Lit general Total                                                             1.30              963.00
                           Grand Total                                                                 221.60          133,096.50
